       Case 3:03-cv-01045-TSL-AGN Document 14 Filed 05/24/05 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                JACKSON DIVISION

MARCUS LAQUEZ LESTER                                                                   PLAINTIFF

VS.                                                         CIVIL ACTION NO. 3:03CV1045LN

S. PREVOST                                                        DEFENDANT
______________________________________________________________________________

                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

       This matter came before the court on a review of the docket, which revealed that an

Order was entered on September 27, 2004, requiring the Plaintiff to notify the court if he wished

to proceed in this matter. The basis for the Order was the Plaintiff's notification that the sole

remaining Defendant had moved to Canada. The Plaintiff has not responded in any manner to

that Order.

       It is the opinion of the undersigned that this case should be dismissed sua sponte without

prejudice for the Plaintiff's failure to prosecute his case and to obey the orders of the court,

particularly, the Order of September 27, 2004. This court has the authority to dismiss an action for

failure of a plaintiff to prosecute or to comply with any order of the court both under Fed. R. Civ.

P. 41(b) and under its inherent authority. See McCullough v. Lynaugh, 835 F.2d 1126 (5th Cir.

1988); Link v. Wabash R.R. Co. , 370 U.S. 626, 630-631 (1962). In this case, the Plaintiff was

informed that a failure to notify the court of his intentions would result in a dismissal without

prejudice.

       The court must be able to clear its calendars of cases that remain dormant because of the

inaction or dilatoriness of the parties seeking relief, so as to achieve the orderly and expeditious

disposition of cases. Such a sanction is necessary in order to prevent undue delays in the disposition
         Case 3:03-cv-01045-TSL-AGN Document 14 Filed 05/24/05 Page 2 of 2



of pending cases and to avoid congestion in the calendars of the court. Link, supra, 370 U.S. at 630.

The actions of the Plaintiff also prejudice the rights of the Defendant to promptly and fully defend

the claims made against him. For the above reasons, the undersigned recommends that this cause

of action be dismissed pursuant to Fed. R. Civ. P. 41(b), without prejudice. Because the basis for

the dismissal is the Defendant's moving out of the country, thereby frustrating service of process on

him, the undersigned further recommends that this dismissal not be counted as a strike for purposes

of future filings in forma pauperis.

         The Plaintiff is hereby notified that failure to file written objections to the proposed findings,

conclusions, and recommendations contained within this report and recommendation within ten (10)

days after being served with a copy shall bar him, except upon grounds of plain error, from attacking

on appeal the unobjected-to proposed factual findings and legal conclusions accepted by the District

Court. 28 U.S.C. § 636; Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir.

1996).

         This the 24th day of May, 2005.



                                                                    s/Alfred G. Nicols, Jr.
                                                         UNITED STATES MAGISTRATE JUDGE




                                                     2
